                          Case 23-62260-dwh11          Doc 742-1        Filed 01/10/25
ORD (12/1/19) jbk                UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                          District of Oregon                           DISTRICT OF OREGON
                                                                                             FILED
In re                                          )
Van's Aircraft, Inc.                           ) Case No. 23−62260−dwh11       January 10, 2025
                                               )                         Clerk, U.S. Bankruptcy Court
Debtor(s)                                      ) ORDER RETURNING
                                               ) DOCUMENT(S)                     BY jbk DEPUTY
                                               )

IT IS ORDERED that:

1. The Various Documents submitted to the court on 1/6/25 by Edgardo Gomez is returned to the filer
   without entry on the court's docket, and will have no legal effect, for the reason(s) stated below:

    A Settlement Conference with the mediation judge has not been set by the court yet. Please wait
    until you receive instructions from the court to file these documents.

    You may also reach out to Tonkon Torp re their proposed settlement dates.

2. For any document listed above to have legal effect, you must refile the corrected document with any
   required certificate of service.

3. If the date of filing is critical and you would like the court to consider treating a document as filed on the
   original submission date, you must file the following within 7 days of the "Filed" date above:

    a. a written request that sets forth all grounds for treating the document as filed on the original
       submission date; and

    b. the refiled document with any required certificate of service.

                                                                                  Clerk, U.S. Bankruptcy Court
